2014 VT 79




In re LaPlante (2013-214)

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2014 VT 79

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[Filed 18-Jul-2014]

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NOTICE:&nbsp; This opinion is
subject to motions for reargument under V.R.A.P. 40 as well as formal revision
before publication in the Vermont Reports.&nbsp; Readers are requested to
notify the Reporter of Decisions by email at: JUD.Reporter@state.vt.us or by
mail at: Vermont Supreme Court, 109 State Street, Montpelier, Vermont
05609-0801, of any errors in order that corrections may be made before this
opinion goes to press.

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  2014 VT 79
  
 &nbsp;


  No. 2013-214
  
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  In re William LaPlante
  
  
  Supreme Court
  
 
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  On Appeal from
  
 
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  Superior Court, Rutland Unit,
  
 
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  Civil Division
  
 
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  December Term, 2013
  
 
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  Nancy
  Corsones, J.
  
 
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 Matthew F. Valerio, Defender General, and Emily Tredeau,
Prisoners’ Rights Office,

&nbsp; Montpelier, for
Petitioner-Appellee.

&nbsp;

Marc D. Brierre, Rutland County State’s Attorney, Rutland,
for Respondent-Appellant.

&nbsp;

&nbsp;

PRESENT:&nbsp; Reiber, C.J., Dooley, Skoglund, Robinson and
Crawford, JJ.

&nbsp;

&nbsp;

¶ 1.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
SKOGLUND, J.&nbsp;&nbsp; The State of New Hampshire
attempts to extradite petitioner William LaPlante, a Vermont resident, for
failure to appear at a 2009 hearing allegedly related to a criminal conviction
in New Hampshire in 1998.&nbsp; Following a Governor’s warrant from the State
of Vermont, &nbsp;petitioner requested a writ of
habeas corpus from the Vermont superior court in Rutland, which the court
granted on grounds that the warrant lacked information required by
statute.&nbsp; The State of Vermont appeals this grant of habeas corpus relief,
contesting the court’s holding and its findings regarding the contents of the
Governor’s warrant.&nbsp; We affirm. 

¶ 2.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
New Hampshire’s request for petitioner’s extradition appears to stem
from a 1998 forgery conviction in that state. &nbsp;The record contains no
documentation of any New Hampshire court action involving petitioner after 1998
until nearly ten years later, in 2008.&nbsp; There the record picks up again
with a “return from superior court” containing a sentence of six months,
partially deferred, conditioned on good behavior and with an order to pay
restitution in the amount of $5515.&nbsp; Over a year later, in 2009, the New
Hampshire court held a “hearing on deferred sentence,” at which petitioner
failed to appear. &nbsp;As a result, the court ordered the issuance of a capias[1] authorizing petitioner’s arrest and
setting bail in the amount of $5150.[2]&nbsp;


¶ 3.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Although never referenced in the Governor’s warrant, it seems that this
current extradition proceeding is not the State’s first attempt to return
petitioner to New Hampshire.&nbsp; Following the capias, the State sought
extradition of petitioner in 2012 after an encounter between petitioner and
Vermont police revealed the outstanding capias for petitioner’s arrest.&nbsp;
The State filed a petition with the Superior Court, Bennington Unit, Civil
Division for interstate rendition of a fugitive, which the Bennington court denied,
finding that “[t]here is no evidence that [petitioner] has been charged with
any actual criminal offense” and that the missed hearing “appears to be solely
a restitution proceeding. &nbsp;Nothing demonstrates it is part of any
probation or parole process.” &nbsp;On this basis, the court held the warrant
facially invalid and denied the State’s extradition request. 

¶ 4.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Several months later, petitioner was arrested in Vermont on an unrelated
matter, and another fugitive-from-justice petition was filed by the State—this
time in the Rutland superior court. &nbsp;A few months after that, New
Hampshire’s Governor requested extradition, and Vermont’s Governor then
executed the warrant for petitioner’s arrest and extradition that is at issue
in this case.&nbsp; In response to the warrant, the Rutland court gave New
Hampshire ten days to pick up petitioner and take him back to that state,
holding petitioner without bail until the expiration of that time.&nbsp;
Petitioner filed a request for habeas corpus relief, which the superior court
granted, concluding after a hearing that the Governor’s warrant failed to meet
the prima facie requirements of Vermont’s extradition statute.&nbsp; The State
now appeals the court’s grant of petitioner’s habeas corpus writ, contending that
the Governor’s warrant does meet the prima facie requirements for extradition
and that findings made by the court during the hearing do not support the
conclusion that the warrant was facially invalid. &nbsp;

¶ 5.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
The U.S. Constitution “places certain limits on the sovereign powers of
the States, limits that are an essential part of the Framers’ conception of
national identity and Union.”&nbsp; California v. Sup.
Ct. of Cal., San Bernardino Cty., 482 U.S. 400, 405 (1987).&nbsp;
One such limit exists by way of the Extradition Clause found in Article IV,
under which the State of Vermont is required to turn over any person charged
with a crime in another state upon request by that state’s executive
authority.&nbsp; U.S. Const. art. IV,
§&nbsp;2, cl. 2.&nbsp; This Clause “was intended to enable each state to
bring offenders to trial as swiftly as possible in the state where the alleged
offense was committed.”&nbsp; Michigan v. Doran, 439 U.S. 282, 287
(1978); see also Lovejoy v. State, 148 Vt. 239, 243, 531 A.2d 921, 924
(1987) (noting the primary purpose of Vermont’s extradition scheme “is to
implement Art. IV, §&nbsp;2, cl. 2 of the United States Constitution, which
gives a state through its Governor the right to seek and obtain custody of a
fugitive from justice found in another state”).&nbsp; In this pursuit,
interstate extradition is intended to be a summary and mandatory executive
proceeding, with no discretion afforded to the officers or courts of the asylum
state where federal and state requirements have been met.&nbsp; Doran, 439 U.S. at 288; New Mexico ex. rel. Ortiz v. Reed,
524 U.S. 151, 154 (1998). &nbsp;

¶ 6.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
A Vermont court’s inquiry into whether extradition is appropriate is
therefore limited; “[o]ur sole task is to ensure the
validity of the requisition warrant and procedural compliance with our
extradition statute, and we will not look behind these documents or examine the
merits of the charges against petitioner.”[3]&nbsp; In re Ladd,
157 Vt. 270, 272, 596 A.2d 1313, 1314 (1991) (citation omitted).&nbsp;
While a Governor’s warrant is prima facie evidence that the constitutional and
statutory requirements have been met for extradition, this Court’s obligation
on review is to examine the sufficiency of those documents “to determine
whether they support or rebut the prima facie case.”&nbsp; Id. at 274, 596 A.2d at 1315.&nbsp; 

¶ 7.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Vermont’s statutory requirements are based on the Uniform Criminal
Extradition Act and are found in §§&nbsp;4941-4969 of Title 13. &nbsp;Section
4943 is specific to extradition through a Governor’s warrant, and states that
an extradition demand from another state must be accompanied—among other
things—by a copy of the indictment, or an information
supported by affidavit, or an affidavit made before a magistrate.&nbsp; 13 V.S.A. §&nbsp;4943(a).&nbsp; Section 4943 further directs
that where, as here, the warrant request is made after a defendant’s conviction, the requesting state must show that the
defendant “has escaped from confinement or broken the terms of his or her bail,
probation or parole.”&nbsp; Id. §&nbsp;4943(b)(3).&nbsp;
We have stated before that it is a “minimal burden” imposed on the state
requesting extradition to make this showing; nonetheless “it is not
nonexistent.”&nbsp; Ladd, 157 Vt. at 272-73, 596 A.2d
at 1314.&nbsp; To meet this burden, the documentation submitted must
establish that: (1) the person sought was convicted of a crime; (2) a period of
probation or parole was imposed; (3) the person has broken the terms of his or
her probation or parole; and (4) the sentence had not expired at the time of
the alleged violation.&nbsp; Id. at 273, 596 A.2d at
1314.&nbsp; 

¶ 8.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
On their face, the documents contained in the Governor’s warrant
establish only the first of these requirements. &nbsp;It is clear that
petitioner was convicted of forgery in 1998; it is far less clear when and what
sentence he received for that crime. &nbsp;With no supporting documentation in
the record, the State asserts that petitioner was never sentenced in 1998 and
that his sentencing was deferred for ten years until 2008.&nbsp; The 2008 sentence,
contained in a document titled “return from superior court,” states that it is
“for a period of six months” with four months “deferred conditioned upon good
behavior,” yet then later states that “[t]he deferred sentence is for 3
months.” &nbsp;Also strange is the heading on the return, which indicates it is
related to the offense of forgery but then reads “Violation of Court Order:
Chargeable By Plea.” &nbsp;Unfamiliar as we are with
New Hampshire’s court forms, an unexplained ten-year delay in petitioner’s
sentencing along with the phrase “violation of court order” leave this Court
far from certain that any 2008 sentence is for petitioner’s original crime of
forgery. &nbsp;Additionally, we note that the mittimus section of the return is
unsigned.&nbsp; While it is not for this Court to resolve issues with
petitioner’s sentencing or New Hampshire’s judicial proceedings, we are
nonetheless required to acknowledge the inconsistencies present in the only
document included in the warrant that contains sentencing information.&nbsp; Id.
at 274, 596 A.2d at 1315 (noting that while “legal questions about the
computation of petitioner’s sentence are for the demanding state to resolve,”
we will examine evidence submitted for sufficiency); Deyo v. Snelling,
139 Vt. 341, 343, 428 A.2d 1117, 1119 (1981) (“Vermont’s inquiry [in an
extradition case] should not include an examination of the demanding state’s
laws or judicial proceedings.”).

¶ 9.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Further, there is a lack of evidence that the sentence imposed by the
return had not expired by the time of petitioner’s arrest. &nbsp;Petitioner
failed to appear at the hearing on his deferred sentence on September 29, 2009.
&nbsp;The sentence conferred by the return commenced on July 3,
2008.&nbsp; Even if each timeframe referred to in the sentence—six months, four
months, and three months—was treated as separate and consecutive, by no means
clear from the language of the return, the sentence would have concluded after
thirteen months in August of 2009. &nbsp;Where the State’s evidence establishes
at most an expired sentence, we have held the prima facie case established by
the Governor’s warrant to be rebutted.&nbsp; Ladd, 157 Vt. at 273-74,
596 A.2d at 1315 (observing that “[b]y any measure, the document is
insufficient to show that petitioner’s sentence was unexpired at the time of
the conduct that gave rise to the extradition request”). 

¶ 10.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Furthermore,
even if the sentencing for petitioner’s 1997 crime was, for some reason,
deferred until 2008, we remain unconvinced that petitioner’s subsequent failure
to appear at a “hearing on deferred sentence” qualifies him for extradition
under §&nbsp;4943. &nbsp;Nothing in the warrant documentation establishes that
petitioner was subject to bail, parole or probation at the time of his hearing,
such that his failure to appear at this hearing was therefore a violation of
bail, parole or probation.&nbsp; This is particularly seen in the capias
itself, which issued after the hearing.&nbsp; The capias form contains several
check-boxes to indicate the reason for issuance, including “[h]as been charged
with a [v]iolation of [p]robation” and “[i]mposition of a deferred
sentence.”&nbsp; Yet the only box checked is for “[f]ailed to appear,” which is
also the only reason indicated on New Hampshire’s request for a Governor’s
warrant from Vermont. &nbsp;In the absence of any confirmation that petitioner
was on parole or probation, this Court cannot confirm petitioner’s violation of
either, without which petitioner does not qualify for post-conviction
extradition under §&nbsp;4943.&nbsp; 

¶ 11.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; These
issues alone are enough for this Court to conclude that, on the whole, the
documentation included in the Governor’s warrant is altogether too vague and
inconclusive where the statute demands clarity.&nbsp; Although we have in past
stated our support for the U.S. Supreme Court’s caution against “unduly
technical judicial interpretations of these procedural requirements,” we cannot
extradite where extradition is not justified.&nbsp; In re
Lambert, 173 Vt. 604, 606, 795 A.2d 1236, 1239 (2002) (mem.) (citing Compton v. Alabama, 214 U.S. 1, 8 (1909)).&nbsp;
Even construing our statutory requirements “liberally,” id., extradition
is not appropriate without any evidence in the warrant to support the assertion
that petitioner was under parole or probation at the time of the hearing and
that his sentence was not expired; doing so would effectively open the doors to
the extradition of any person who was formerly convicted of a crime.&nbsp;
Thus, we uphold the trial court’s issuance of petitioner’s writ of habeas
corpus.&nbsp; On their face, the documents included in the Governor’s warrant
do not satisfy the requirements of §&nbsp;4943. 

¶ 12.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This
is not a case where the requesting state’s documents are different in form yet
functionally equivalent to what is required by statute, as in Lambert,
but rather where the documents leave open what must, by law, be established.
&nbsp;Id. at 606-08, 795 A.2d at 1239-40 (confirming validity of another
state’s version of judgment of conviction where “functionally equivalent” to
Vermont’s); see also Ladd, 157 Vt. at 273, 596 A.2d at 1314 (“[T]he
demanding state must establish&nbsp;.&nbsp;.&nbsp;.&nbsp;[that petitioner] has
broken the terms of his or her probation or parole[] and [that] the sentence
had not expired at the time of the alleged violation.”); In re Sousie,
147 Vt. 330, 331, 516 A.2d 142, 143-44 (1986) (“The law commonly requires
actual documents, as opposed to conclusory statements concerning those
documents, and we see no justification for requiring less in an extradition
proceeding involving the deprivation of liberty when the statutory requirement
is explicit.” (citation omitted)). &nbsp;

¶ 13.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Our
decision in this case rests entirely on the face of the documents submitted by
the State with the Governor’s warrant, and not on the information contained in
the 2012 Bennington court order denying petitioner’s extradition.&nbsp; As a
result, we need not delve into the question of whether the Rutland court
correctly took judicial notice of that order or the facts contained therein.
&nbsp;Likewise, we do not address the State’s arguments regarding the accuracy
of the Rutland court’s findings on the record as we do not rely on them in our
analysis.

The superior
court’s order granting petitioner’s writ of habeas corpus is affirmed.


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  FOR THE COURT:
  
 
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  Associate
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[1]&nbsp;
A capias refers to “[a]ny of various types of writs that require an officer to
take a named defendant into custody.”&nbsp; Black’s Law Dictionary 221 (8th ed.
2004).

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[2]
&nbsp;Petitioner asserts that New Hampshire seeks extradition as a method of
collecting the unpaid restitution from the forgery charge, essentially a civil
debt, citing as support the fact that the capias bail and the forgery charge
bail are for the same amount.&nbsp; There appears to be some inconsistency in
the record as to the amount set for the forgery restitution; some documents,
including the “return from superior court,” cite the amount as $5515, while
others list the restitution amount at $5150, the same as the capias bail.&nbsp;
Ultimately, this discrepancy matters little as we affirm the trial court’s writ
of habeas corpus based on the facial invalidity of the warrant and thus do not
reach petitioner’s civil-debt argument. &nbsp;

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[3]&nbsp;
The parties raise the question of what standard of review we apply in examining
the grant of a habeas corpus writ in the extradition context. &nbsp;In habeas
corpus cases, we have applied the traditional standard of review whereby the
trial court’s findings of facts will stand if there is any reasonable and credible
evidence to support them, but our approach to questions of law is
nondeferential and plenary.&nbsp; See In re M.B., 2004 VT 58, ¶&nbsp;6,
177 Vt. 481, 857 A.2d 772.&nbsp; Where the question of
law is whether extradition is appropriate, as noted in Ladd, our review
is limited to an examination of the State’s documentation and a determination
of whether that documentation is sufficient to meet the requirements of
Vermont’s law. &nbsp;Our current review of the Governor’s warrant is therefore
a de novo examination of the extradition documentation, as any findings of fact
by the trial court are not necessary to the determination of facial sufficiency
in this case. &nbsp;







